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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                  FILED
                                                             for the                                          May 01, 2025
                                                 Western District of Texas                               CLERK, U.S. DISTRICT COURT
                                                                                                         WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                          vp
                                                                                                      BY: ________________________________
                                                                                                                              DEPUTY
                             v.                                 )
                                                                )      Case No. SA-25-MJ-692
                     (1) Albert Delgado                         )
                     (2) Hector Fuentez                         )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 1, 2025 to on or about May 1, 2025 in the county of BEXAR                                      in the
WESTERN                District of TEXAS                    , the defendant(s) violated:
            Code Section                                                 Offense Description
18 U.S.C. § 933                           Trafficking in Firearms

                                          Penalties: Up to 15 years imprisonment; a fine up to $250,000, or both
                                          such fine and imprisonment; mandatory $100 special assessment; and,
                                          maximum 3 years supervised release


         This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




              Continued on the attached sheet.

                                                                       DANIEL HUBER                    Digitally signed by DANIEL HUBER
                                                                                                       Date: 2025.05.01 16:13:07 -05'00'
                                                                                           Complainant’s signature

                                                                       Daniel Huber, Special Agent, ATF
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:       May 1, 2025
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                RICHARD B. FARRER, U.S. MAGISTRATE JUDGE
                                                                                            Printed name and title
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Daniel Huber, being duly sworn do hereby depose and state:
   1.     Your Affiant is currently employed as a Special Agent with the United States Bureau
          of Alcohol, Tobacco, Firearms, and Explosives (ATF), where I have worked since
          March of 2022. I am assigned to San Antonio Group 1, which investigates gang
          related crimes including robberies along with the illegal sale, use, or possession of
          firearms. I have assisted in numerous investigations that have led to convictions in
          both state and federal court. Since November 2022, your affiant has participated in
          investigations concerning violations of Title 18 and Title 26 of the United States
          Code, including offenses pertaining to the illegal possession of firearms.

   2.     I make this Affidavit, in part, based on my personal observation, experience, training;
          my personal knowledge gathered during my participation in this investigation;
          information conveyed to me by other law enforcement officers and witnesses
          involved in this investigation, either personally in conversation or through their
          reports; my review of physical evidence obtained during the investigation; and my
          review of records obtained during this investigation. This affidavit is submitted for
          the limited purpose of establishing probable cause, and it does not include each fact
          of this investigation.

   3.     Based on the facts set forth herein, I submit that there is probable cause to believe that
          between April 1, 2025 and May 1, 2025, in the Western District of Texas, Defendants
          Albert DELGADO (DELGADO) and Hector FUENTEZ (FUENTEZ) conspired
          together to traffic firearms in violation of 18 U.S.C. § 933.

                          FACTS SUPPORTING PROBABLE CAUSE

   4.     Law enforcement learned DELGADO and FUENTEZ were both in possession of
          and trafficking firearms, to include stolen firearms and machine guns, through social
          media. The machine guns were in the form of machinegun conversion devices

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      (MCDs) known as “Glock switches” and firearms that have been converted into
      machineguns by attaching an MCD in the form of a Glock switch. The sole purpose
      of the machine gun conversion device such as a “Glock switch” is to convert a semi-
      automatic firearm into a fully-automatic machinegun. Firearms with an attached
      machinegun conversion device, as well as stand-alone machinegun conversion
      devices, are both considered to be machineguns under federal law. See 26 U.S.C. §
      5845(b) (defining “machinegun”). The possession of machineguns in either of these
      forms is generally prohibited by Federal law. See 18 U.S.C. § 922(o); see also 26
      U.S.C. § 5845(b) (defining “machinegun”).

5.    On or about the week of April 1, 2025, an Undercover Agent (UC) communicated
      over social media and text message with DELGADO. Over the communication, the
      UC told DELGADO he wished to purchase firearms and intended to bring them to
      Mexico. DELGADO agreed to sell the UC one Glock pistol with an MCD device.
      On or about April 8, 2025, UC and DELGADO met. Three males arrived during the
      deal. Two remained inside the vehicle while DELGADO met with the UC. The UC
      purchased two Glock pistols and a blue in color MCD “Glock Switch” device in
      exchange for $1,900. The UC expressed during the meet that the UC intended to
      bring the firearms to Mexico that night. Of note, a query of the purchased firearm
      serial numbers revealed one pistol was reported stolen in San Antonio, Texas.

6.    During the week of April 14, 2025, DELGADO messaged the UC and agreed to sell
      additional firearms. The two agreed to meet on or about April 15, 2025. Prior to the
      meet, DELGADO said he needed to go to three separate locations to pick up three
      firearms he intended to sell to the UC. Surveillance followed DELGADO to 223
      Ceralvo Street, San Antonio, Texas. The residence is the home of FUENTEZ.
      Surveillance observed a male matching FUENTEZ’ description exit the residence
      and go into DELGADO’s vehicle. Around the same time, DELGADO told the UC
      he had just picked up the Glock 29 pistol he intended to sell the UC. Further,
      investigators previously observed a post on a Facebook account identified through the
      investigation as belonging to FUENTEZ. On April 14, 2025, FUENTEZ advertised
      what appeared to be the same unique green camouflage Glock 29 10mm pistol for
      sale.
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7.     During the meet on April 15, 2025, investigators identified FUENTEZ as being the
       front passenger in DELGADO’s vehicle. DELGADO met the UC and sold two
       Glock pistols in exchange for $1,400.00. The UC again told DELGADO he would
       bring the firearms down to Mexico later that day.

8.     During the week of April 21, 2025, DELGADO said he was willing to sell a “bulk”
       order of 11 firearms to the UC. The UC said he was in Mexico, but he would send a
       “driver” to purchase the firearms. Leading up to the deal, investigators observed
       FUENTEZ and DELGADO independently post over social media the 11 firearms
       which DELGADO told the UC he would sell to him.

9.     As the UC and DELGADO continued messaging regarding the meet for the 11
       firearms, the UC again told DELGADO he would be bringing the firearms to
       Mexico. The two agreed to meet on April 22, 2025. Prior to the meet, investigators
       observed DELGADO and FUENTEZ in front of DELGADO’s residence.
       Investigators watched as DELGADO and FUENTEZ wrapped multiple firearms in a
       sheet and placed them in DELGADO’s vehicle. DELGADO and FUENTEZ both
       went to meet with the UC together. The UC paid DELGADO $6,000 in exchange for
       11 firearms. The UC observed DELGADO and FUENTEZ count the money
       together after the money was exchanged. A query of the purchased firearm serial
       numbers revealed three firearms were reported stolen in NCIC.

10.    Also on the week of April 21, 2025, an ATF UC spoke with FUENTEZ over social
       media and text messaging. The UC told FUENTEZ he would take the firearms to
       Mexico. FUENTEZ agreed to meet the UC on April 23, 2025, to sell five firearms.
       On April 23, 2025, investigators observed DELGADO pick up FUENTEZ prior to
       the deal. Investigators observed social media posts on DELGADO’s Instagram
       account and FUENTEZ’ Instagram account. DELGADO posted a video to his story.
       The video displayed a still picture with rap lyrics over the picture. The picture
       displayed someone in the driver’s seat of a Chrysler sedan. The individual has a large
       amount of 100-dollar bills laid out across his lap. The cash appears to be similar to
       the cash ATF used to purchase the 11 firearms from DELGADO the day prior. In
       the center console of the vehicle, the picture displays three Glock pistols and one teal


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       colored SCCY pistol. The pistols appear like those purchased from FUENTEZ.
       FUENTEZ’s post appeared to show an individual in the front passenger seat of a
       vehicle. The individual has what appears to be the same or similar 100-dollar bills
       laid in a similar fashion across their lap. The individual then displays a plastic bag
       with three Glock pistols and a SCCY pistol. Further, the video has three Mexico
       flags over the top of the video. The UC told FUENTEZ he intended to bring the
       firearms to Mexico.


11.    Investigators followed FUENTEZ and DELGADO to the deal location. FUENTEZ
       sold the UC five pistols in exchange for $3,250. DELGADO remained in the vehicle
       during the transaction. A query of the purchased firearm serial numbers revealed one
       of the firearms was stolen the night prior. The UC asked FUENTEZ if the pistol was
       stolen. FUENTEZ replied, “Not too positive on that one Pa” “Might be not goin to
       lie”. FUENTEZ further told UC he had additional firearms ready for purchase.


12.    The UC continued communicating with FUENTEZ and DELGADO separately.
       DELGADO told the UC, “Aye me n Glocks (FUENTEZ) r locked in with each
       other” “Trynna get u Wtv we can out here” which is believed to mean DELGADO
       and FUENTEZ were conspiring to traffic firearms together. They were attempting to
       gather firearms to sell the UC. DELGADO went on to say they had 10 firearms to
       sell the UC. The UC asked if FUENTEZ would be bringing firearms as well.
       DELGADO replied, “Na we splitting it” “Together we got 10 for u”. Communication
       continued over the next several days. DELGADO attempted to negotiate prices for
       firearms he intended to sell. DELGADO said, “I feel u bro jus im splitting it wit
       Glocks (FUENTEZ) to” in reference to the profit he would make from the deal with
       the UC. The UC again said he would bring the firearms to Mexico after the deal. A
       meet was planned for May 1, 2025.


13.    On May 1, 2025, the ATF intercepted DELGADO and FUENTEZ along with a
       third man on their way to complete the transaction with the UC. DELGADO and
       FUENTEZ were found in possession of the ten firearms which had been negotiated

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         for sale to the UC. Of these ten firearms, three were confirmed to have been stolen.


  14.    Also on May 1, 2025, the ATF executed search warrants at the residence of
         DELGADO and FUENTEZ. These search warrants resulted in the seizure of an
         additional five firearms, which are currently being investigated.


  15.    In summary, DELGADO and FUENTEZ conspired together to sell the UCs a total
         of 39 firearms with the belief the firearms were being brought to Mexico. Eight
         firearms were reported stolen through NCIC. An additional five firearms were seized
         as part of search warrants executed on the residences of DELGADO and FUENTEZ.
         DELGADO further sold one Glock pistol along with a machine gun conversion
         device. A check of the Nation Firearms Registration and Transfer Record (NFRTR)
         revealed that neither DELGADO nor FUENTEZ have any National Firearms Act
         (NFA) firearms registered to them, as would be required to lawfully possess a
         machinegun.



FEDERAL CRIMINAL VIOLATIONS

  16.    Based on the above facts, your affiant believes that there is probable cause that,
         between on or about April 1, 2025 to on or about May 1, 2025, in the Western District
         of Texas, Albert DELGADO and Hector FUENTEZ knowingly conspired to traffic
         firearms by selling firearms with the belief the firearms would later be smuggled into
         Mexico in violation of 18 U.S.C. Section 933, pertaining to the trafficking of
         firearms.

  17.    The maximum penalty for violating 18 U.S.C. § 933 is up to 15 years in prison, up to
         3 years of supervised release, a fine of up to $250,000, and a $100 mandatory special
         assessment. See 18 U.S.C. § 924(a)(2); 18 U.S.C. § 3583(b)(2); 18 U.S.C.




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        § 3571(b)(3); 18 U.S.C. § 3013(a)(2)(A).


                                                               Digitally signed by DANIEL
                                        DANIEL HUBER HUBER
                                                     Date: 2025.05.01 16:25:31 -05'00'
                                                                              _________
                                        Daniel Huber
                                        Bureau of Alcohol, Tobacco, Firearms, and
                                        Explosives




                               1st DAY OF MAY, 2025.
SWORN TELEPHONICALLY ON THIS _____




                                        ______________________________________
                                        HONORABLE JUDGE RICHARD B. FARRER
                                        UNITED STATES MAGISTRATE JUDGE




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